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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10   BRIAN KANG, an individual, on         Case No. 2:21-cv-06593-MCS-JPR
11   behalf of himself and SKYBLOCK,
     LLC and MID-WILSHRE                   JUDGMENT
12   CONSULTING LLC, PRASAD
13   HURRA, DAVID KIM, an individual,
     on behalf of himself and BLUE
14
     BLOCK GROUP, ARTEMIO
15   VERDUZO, DAVID KWON, and
     YOUNG JAE KWON,
16
17                    Plaintiffs,
18
                 v.
19
     HYBRID TRADE LIMITED, ASIA
20
     DIGITAL ASSET EXCHANGE,
21   ALLYSIAN SCIENCES, APOLO
     OHNO, ROD JAO, EUGENIO
22
     PUGLIESE, HENRY LIU, and DOES
23   1 through 10, inclusive,
24
                      Defendants.
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1          Pursuant to this Court’s Order Granting Defendant’s Motion to Dismiss,
2          IT IS ADJUDGED that judgment is entered in favor of Defendants Hybrid Trade
3    Limited, Asia Digital Asset Exchange, Allysian Sciences, Apolo Ohno, Rod Jao,
4    Eugenio Pugliese, and Henry Liu and against Plaintiffs Brian Kang, Prasad Hurra,
5    David Kim, Artemio Verduzo, David Kwon, and Young Jae Kwon on all claims in
6    Plaintiffs’ Complaint. The action is dismissed with prejudice. Plaintiffs shall take
7    nothing from this action, and Defendants are entitled to their costs of suit.
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9    IT IS SO ORDERED.
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11    Dated: February 15, 2022
                                                     MARK C. SCARSI
12                                                   UNITED STATES DISTRICT JUDGE
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